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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
JASON LEOPOLD, BUZZFEED, INC.,      )
                                    )
                  Plaintiffs,       )
                                    )
              v.                    )   Civil Action No. 19-cv-1278 (RBW)
                                    )
UNITED STATES DEPARTMENT OF         )
JUSTICE, et al.                     )
                                    )
                  Defendants.       )
___________________________________ )
                                    )
CABLE NEWS NETWORK,                 )
                                    )
                  Plaintiff,        )
                                    )
              v.                    )   Civil Action No. 19-cv-1626 (RBW)
                                    )
FEDERAL BUREAU OF                   )
INVESTIGATION,                      )
                                    )
                  Defendant.        )
___________________________________ )

                           DEFENDANT’S RESPONSE TO
                  PLAINTIFFS’ MOTION TO MODIFY COURT ORDER

       By requesting that the Court order production by October 1 of all FD-302s that have been

sent by the Federal Bureau of Investigation (“FBI”) to other governmental agencies for their

review, Plaintiffs effectively seek to compel the FBI to produce potentially sensitive information

in the FD-302s that members of the Intelligence Community or law enforcement agencies may

determine should be protected from disclosure. But there is no basis for such an order. Far from

delaying the production of the FD-302s, the FBI has been diligently processing 800 pages of FD-

302s each month, sending them to other governmental agencies for review when necessary,

repeatedly following up with those agencies for a final response, and, once the FBI receives a
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response from these other governmental agencies, including the FD-302s in productions to

Plaintiffs. This process is the only way to ensure that potentially classified and/or law

enforcement sensitive information that would otherwise be exempt under the Freedom of

Information Act (“FOIA”) is not disclosed. The Court should permit the FBI to continue its

standard consultation/coordination process and deny Plaintiffs’ motion.

                                         BACKGROUND

       As previously described, see Dkt. 57, in processing the typewritten narratives of FD-302s

in response to Plaintiffs’ FOIA requests, the FBI has identified information in certain FD-302s

that was obtained from other governmental agencies (“OGAs”), including members of the

Intelligence Community (“IC”), or bore on OGA equities. See Second Decl. of Michael G.

Seidel ¶ 17 (Aug. 28, 2020). When the FBI identified such information, it followed the

Department of Justice’s FOIA regulations (in relevant part, 28 C.F.R. § 16.4) that “specifically

addresses how OGA information and records are to be handled during the processing of a FOIA

request, including classified information,” id. ¶ 5, and the FBI’s standard

consultation/coordination process, id. ¶¶ 6–17. Specifically, once the FBI identified OGA

information in the FD-302s, it marked the information, notated which OGA needed to review it,

and prepared the consultation/coordination packages to be sent to the OGA(s). Id. ¶¶ 12, 17. As

the FBI declarant attests, “[g]iven the sensitivities of these records and significant law

enforcement, national security, and/or intelligence concerns implicated by the presence of

particular IC or law enforcement agency information in them, it is critical to solicit and

incorporate the input of these agencies before releasing the records.” Id. ¶ 27. Once the OGAs

receive and review the FD-302(s) for their equities, they will “provide recommendations to the

FBI as to how they wish their information to be handled (i.e., disclose or redact).” Id. ¶ 17.



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       As of August 28, 2020, the FBI has sent 194 consultation/coordination requests to 22

agencies. Id. ¶ 18. Those requests concern 129 FD-302s (some with overlapping equities of

more than one OGA). Id. Seventy-eight of the total 194 consultation/coordination requests were

sent to the OGAs in August 2020, and have, therefore, been pending less than one month. Id.

¶ 19. Another 20 of the total 194 consultation/coordination requests were sent to the OGAs in

June or July 2020, and have thus been pending less than three months. Id. Forty

consultation/coordination requests have been pending for more than three months. Id.

       The FBI has been diligently working with their partners at the OGAs to ensure timely

production to Plaintiffs. Specifically, the FBI is requesting responses by the OGAs within two

weeks of OGA receipt, so that any 302s with fully resolved responses can be included in the next

scheduled interim response. Id. ¶ 21. When the FBI does not receive a response within that

requested two-week period, FBI employees have been following up with their agency contacts

each month. Id. ¶ 23. Moreover, when FBI employees were unable to receive an

acknowledgement of receipt of certain consultation/coordination requests from an OGA, senior

officials at FBI who do not normally get involved with these requests contacted the OGAs

obtained acknowledgment of the consultation/coordination request. Id.

       All of the OGAs have acknowledged receipt of the consultation/coordination requests,

but many of them have not been able to provide final recommendations to the FBI because of

other litigation demands. Id. ¶ 22. Moreover, certain OGAs have indicated that they cannot

meet the FBI’s requested two-week response deadline “due to staffing issues related to the

COVID 19 Pandemic.” Id. Although RIDS fully reopened for FOIA processing in June, not all

governmental agencies resumed FOIA processing on the same timetable or on the same staffing

levels. Id. ¶¶ 22, 26. This has “significantly delayed some agencies’ responses to classified FBI



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consultations.” Id. ¶ 26.

        The FBI has received a total of 56 responses to the consultation/coordination requests

from other governmental agencies. Id. ¶ 19 n.6. Because the FBI received final responses from

OGAs and there were no additional responses pending from any other governmental agency, the

FBI has released, or will release in the September 1 production, 16 FD-302s to Plaintiffs. Id.

¶ 20. The FBI has not yet released other FD-302s for which it has received responses from

OGAs because a consultation/coordination request on that same FD-302 is pending with another

governmental agency, there are outstanding classification issues, or the FBI only recently

received a response from the OGA, which left insufficient time to include the response in the

September 1 production. Id. ¶ 19 n.6; see also id. ¶ 14(b) (explaining the actions FBI must take

to complete the processing of records upon receipt of the responses from OGAs). Once the FBI

receives final responses for each FD-302, the FBI has been and will continue to finalize all

records and release the non-exemption portions to Plaintiffs in the next monthly production. Id.

¶ 24.

                                          ARGUMENT

        The consultation/coordination process that the FBI followed in this case is permitted by

the FOIA and required by regulation. As the D.C. Circuit has recognized, the “FOIA explicitly

permits ‘consultation . . . with another agency having a substantial interest in the determination

of the request.” Sussman v. U.S. Marshals Serv., 494 F.3d 1106, 1118 (D.C. Cir. 2007) (quoting

5 U.S.C. § 552(a)(6)(B)(iii)(III)). Moreover, the Department of Justice’s regulations, which the

FBI follows, require the FBI to determine for each record it reviews “whether another

component or another agency of the Federal Government is better able to determine whether the

record is exempt from disclosure under the FOIA.” 28 C.F.R. § 16.4(d). For such records, the



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FBI is required under the applicable regulation to “consult with that other component or agency

prior to making a release determination.” 1 28 C.F.R. § 16.4(d)(1). The regulation further

permits the FBI to withhold the identity of the other agency “where disclosure of the identity of

the component or agency to which the referral would be made could harm an interest protected

by an applicable exemption, such as the exemptions that protect personal privacy or national

security interests.” 28 C.F.R. § 16.4(d)(3).

         Plaintiffs request that the Court compel disclosure of the FD-302s before the other

governmental agencies finish their review of the documents. However, the Court may “compel[]

disclosure of the documents only if they were ‘(1) improperly’; (2) withheld’ by the [FBI].”

McGehee v. CIA, 697 F.2d 1095, 1109 (D.C. Cir.), on reh’g, 711 F.2d 1076 (D.C. Cir. 1983)

(quoting Kissinger v. Reporters Committee for Freedom of the Press, 445 U.S. 136, 150 (1980)).

The D.C. Circuit has found that an agency’s system for sending documents to another agency for

review “constitutes ‘withholding’ of those documents if its net effect is significantly to impair

the requester’s ability to obtain the records or significantly to increase the amount of time he

must wait to obtain them.” Id. at 1110. And that “withholding” “will be deemed ‘improper’

unless the agency can offer a reasonable explanation for its procedure.” Id.; see also Peralta v.

U.S. Attorney’s Office, 136 F.3d 169, 175 (D.C. Cir. 1998) (noting that “there is no ‘bright line’

test for evaluating” the procedure used by the agency).

         Here, the FBI has followed its standard consultation/coordination procedure, whereby a

FOIA processor identifies information in the FD-302s that concern another agency’s equities,




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  The regulations also permit the FBI to refer to another agency the responsibility for responding to the FOIA
request regarding the record if the FBI determines that “a different component, agency, or other Federal Government
office is best able to determine whether to disclose the record.” 28 C.F.R. § 16.4(d)(2). This part of the regulation
is not at issue in this case, as FBI did not refer to any other agency the responsibility for responding to Plaintiffs’
FOIA requests concerning the FD-302s. See Seidel Decl. ¶ 7 n.1.

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sends that FD-302 to the agency for a consultation, and informs Plaintiffs in the cover letters to

the productions that documents have been sent to other agencies for consultation. Seidel Decl.

¶ 17. The FBI does not publicly identify the agency receiving the consultation/coordination

request in order to avoid potential inadvertent disclosure of classified and/or law enforcement

sensitive information that would otherwise be exempt under the FOIA. Id. ¶¶ 11, 28. As the FBI

declarant has attested, “[t]he coordination process is critical to the resolution of Intelligence

Community equities in particular because an IC agency’s connection to a specific individual,

activity, program, or FBI investigation can often be classified or prohibited from disclosure

under a withholding statute.” Id. ¶ 11. The process is also necessary to resolve sensitive law

enforcement agency equities in order to avoid inadvertent disclosure of information related to

pending investigations. Id. Accordingly, because the agency followed a reasonable procedure

for the resolution of other governmental agencies’ equities in the FD-302s, the Court should find

that the FBI is not “improperly withholding” the FD-302s through its consultation/coordination

process. McGehee v. CIA, 697 F.2d at 1110.

       Although Plaintiffs are correct that an agency may not refuse to act when it finds records

that implicate another agency’s equities, Pls.’ Mot. 3, the FBI plainly has not done so here. The

FBI has continuously taken responsibility over the FD-302s by processing 800 pages of the

typewritten narratives per month, recognizing when another governmental agency’s equities are

implicated by the records, and promptly sending the consultation/coordination requests to those

agencies. Seidel Decl. ¶ 21. FBI employees confirmed that the consultation packages had been

received by the other governmental agencies, and, in the instances where the FBI did not receive

any acknowledgment, the FBI elevated the issue to senior officials who do not normally get

involved in consultation/coordination requests in order to prompt a response from the other



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agencies. Id. ¶ 23. These actions resulted in all of the other governmental agencies

acknowledging receipt of the consultation/coordination requests. Id. ¶ 23. Upon receipt of the

consultation/coordination requests, certain agencies requested more information from the FBI,

which the FBI promptly provided to them. Id. ¶ 22. The FBI further asked for all of the

agencies to provide a response to the consultation/coordination request within two weeks. Id. ¶

23. Certain agencies have informed the FBI that “they are unable to meet RIDS’ requested two-

week deadline due to staffing issues related to the COVID-19 Pandemic and multiple competing

priorities, including litigation deadlines.” Id. ¶ 22. When the FBI did not receive responses in

the requested two-week period, FBI employees have routinely and repeatedly followed up with

each agency. Id. ¶ 23. Specifically, “a RIDS employee has emailed and/or called each his or her

contact at each OGA every month the consult has been pending and will continue to do so” until

each consultation/coordination request has been resolved. Id. Once the

consultation/coordination request for a FD-302 is fully resolved – i.e., all affected OGAs provide

recommendations – RIDS has been and will continue to finalize the FD-302s for production and

release the non-exempt information to Plaintiffs in the next production. Id. ¶ 24. Accordingly,

far from failing to take responsibility over the FD-302s as Plaintiffs claim, the FBI has

continuously taken efforts to process the FD-302s and release the non-exempt portions of those

records to Plaintiffs in a timely manner.

       In arguing that the Court should disregard FBI’s process and order the disclosure of

potentially classified and/or law enforcement sensitive information that may otherwise be

exempt under the FOIA, Plaintiffs rely on Paisley v. CIA, 712 F.2d 686 (D.C. Cir. 1983) and

Keys v. Department of Homeland Security, 570 F. Supp. 2d 59 (D.D.C. 2008). But in Paisley,

the court ordered the agency to provide an affidavit within 30 days setting forth the reasons for



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withholding because the plaintiff had not received the requested records for four years and the

agency did not inform the plaintiff for 18 months that her records had been referred to another

agency for processing. 712 F.2d at 691 n.22. And in Keys, the court found that the Secret

Service improperly withheld documents when it referred them to another agency, entirely failed

to follow up with that agency, and the agency did not respond for nearly a year. 570 F. Supp. 2d

at 70. This case is plainly distinguishable from both Paisley and Keys, as the FBI has been

issuing monthly releases to Plaintiffs and the majority of the pending consultation/coordination

requests have been pending for less than three months. See Seidel Decl. ¶ 19. For all pending

requests, the FBI has been diligently following up with its agency contacts each month to prompt

a final resolution of the consultation. Id. ¶ 23. Accordingly, the FBI has taken and continues to

take responsibility over the processing of the FD-302s, and there is no basis upon which to order

premature disclosure of FD-302s.

                                         CONCLUSION

       The FBI has followed its long-standing procedures that it follows both at the

administrative phase as well as for cases in litigation and has done all it can do to comply with

the Court’s Orders and process the FD-302s for release. Because directing the release of FD-

302s before this consultation process is complete risks exposing classified and/or law

enforcement sensitive information that would otherwise be exempt under the FOIA, the Court

should reject Plaintiffs’ request to order disclosure of FD-302s before that vital consultation

process is complete.




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Dated: August 28, 2020             Respectfully submitted,

                                   ETHAN P. DAVIS
                                   Acting Assistant Attorney General
                                   Civil Division

                                   ELIZABETH J. SHAPIRO
                                   Deputy Director
                                   Federal Programs Branch

                                   /s/ Courtney D. Enlow
                                   COURTNEY D. ENLOW (N.C. Bar No. 46578)
                                   Trial Attorney
                                   United States Department of Justice
                                   Civil Division, Federal Programs Branch
                                   1100 L Street, N.W.
                                   Room 12102
                                   Washington, D.C. 20005
                                   Tel: (202) 616-8467
                                   Email: courtney.d.enlow@usdoj.gov

                                   Counsel for Defendant




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